          Case 3:23-cv-00971-AR           Document 5        Filed 07/05/23     Page 1 of 2




Megan J. Crowhurst, Bar No. 132311
mcrowhurst@littler.com
Ben Handy, Bar No. 226527
bhandy@littler.com
LITTLER MENDELSON P.C.
1300 SW 5th Avenue
Wells Fargo Tower - Ste 2050
Portland, Oregon 97201
Telephone: 503.221.0309
Fax No.:      503.242.2457

Attorneys for Defendant, Workday, Inc.



                                 UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON

                                       PORTLAND DIVISION

TAYLOR ERIC VAUGHN,                                         Case No. 3:23-cv-00971-AR

                    Plaintiff,
                                                            UNOPPOSED MOTION TO
        vs.                                                 EXTEND THE DEADLINE TO FILE
                                                            AN ANSWER OR RESPONSIVE
WORKDAY, INC.,                                              PLEADING TO PLAINTIFF’S
                                                            COMPLAINT
                    Defendant.



                                     LR 7-1 CERTIFICATION


        Pursuant to Local Rule 7-1, counsel for Plaintiff, Taylor Eric Vaughn, and counsel for

Defendant, Workday, Inc. (“Workday, Inc.”), have made a good faith effort to confer regarding the

subject matter of this motion, and Plaintiff does not oppose it.

                                               MOTION

        Pursuant to Local Rule 16-3, Workday, Inc. moves this Court for an extension of the deadline

to file its answer or responsive pleading to the Complaint to and including Friday, August 11, 2023.



                                                                             LITTLER MENDELSON P.C.
                                                                                      1300 SW 5th Avenue
 Page 1 - UNOPPOSED MOTION TO EXTEND THE DEADLINE                             Wells Fargo Tower - Ste 2050
 TO FILE AN ANSWER OR RESPONSIVE PLEADING TO                                        Portland, Oregon 97201
 PLAINTIFF’S COMPLAINT                                                                    Tel: 503.221.0309
           Case 3:23-cv-00971-AR          Document 5       Filed 07/05/23      Page 2 of 2




                                  MEMORANDUM IN SUPPORT


         On June 2, 2023, Plaintiff filed his Complaint in the Circuit Court of the State of Oregon

for the County of Multnomah (“Multnomah County Circuit Court”). On June 30, 2023, Defendant

filed a Notice of Removal to remove this action from the Multnomah County Circuit Court to the

United States District Court for the District of Oregon. Pursuant to Federal Rule of Civil Procedure

81(c)(2)(C), an answer or responsive pleading is due seven days after removal, i.e., July 7, 2023.

         In light of the long Fourth of July holiday weekend falling within the time period to prepare

and file an answer, and due to scheduled July vacations for several of Workday’s witnesses and

legal counsel, Workday requires additional time to gather documents and information to prepare

its answer, affirmative defenses, or other responsive pleadings. Counsel for Workday, Inc. has

communicated with counsel for Plaintiff, who does not oppose this request for additional time to

allow Workday, Inc. to adequately evaluate the claims and allegations before preparing a response.

This is Workday, Inc.’s first motion to extend the deadline to file a responsive pleading. It is not

made for the purposes of delay and will not impact any other deadlines previously set in this case.

                                          CONCLUSION

         WHEREFORE, Defendant Workday, Inc. respectfully requests that this Court grant its

Unopposed Motion to Extend the Deadline to File an Answer or Responsive Pleading to Plaintiff’s

Complaint and enter an order extending the time to plead to Friday, August 11, 2023.

Dated:       July 5, 2023                          Respectfully submitted,

                                                   LITTLER MENDELSON P.C.

                                                   /s/ Megan J. Crowhurst________________
                                                   Megan J. Crowhurst, OSB No. 132311
                                                   mcrowhurst@littler.com
                                                   Ben Handy, OSB No. 226527
                                                   bhandy@littler.com

                                                   Attorneys for Defendant, Workday, Inc.


                                                                             LITTLER MENDELSON P.C.
                                                                                      1300 SW 5th Avenue
 Page 2 - UNOPPOSED MOTION TO EXTEND THE DEADLINE                             Wells Fargo Tower - Ste 2050
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